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      Defendant David Tassillo
                          UNITED STATES DISTRICT COURT
   12
                         CENTRAL DISTRICT OF CALIFORNIA
   13
        SERENA FLEITES,
   14
                                Plaintiff,
   15               v.
                                                        Case No. 2:21-cv-4920
   16   MINDGEEK S.A.R.L. a foreign entity;
        MG FREESITES, LTD., a foreign entity;           SPECIALLY APPEARING
   17   MINDGEEK USA INCORPORATED, a                    DEFENDANTS FERAS
        Delaware corporation; MG PREMIUM                ANTOON AND DAVID
   18   LTD, a foreign entity; MG GLOBAL                TASSILLO’S NOTICE OF
        ENTERTAINMENT INC., a Delaware                  MOTION AND MOTION TO
   19   corporation; 9219-1568 QUEBEC, INC.,            DISMISS THE SECOND
        foreign entity; BERND BERGMAIR, a               AMENDED COMPLAINT;
   20   foreign individual; FERAS ANTOON, a             MEMORANDUM OF POINTS
        foreign individual; DAVID TASSILLO, a           AND AUTHORITIES IN
   21   foreign individual; VISA INC., a Delaware       SUPPORT THEREOF
        corporation; REDWOOD MASTER
   22   FUND, LTD, a foreign entity; MANUEL             Date: November 22, 2024
        2018, LLC, a Delaware corporation,              Time: 1:30 p.m.
   23   GINGOGERUM, LLC, a Delaware                     Courtroom: 9B
        corporation; WHITE-HATHAWAY                     Judge: Hon. Wesley Hsu
   24   OPPORTUNITY FUND, LLC, A
        Delaware corporation; COLBECK
   25   CAPITAL MANAGEMENT, LLC, a
        Delaware Corporation; CB AGENCY
   26   SERVICES, LLC, A Delaware
        corporation; and CB PARTICIPATIONS
   27   SPV, LLC, a Delaware corporation

   28                           Defendants.

            FERAS ANTOON AND DAVID TASSILLO’S MOTION TO DISMISS
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   1                    NOTICE OF MOTION AND MOTION TO DISMISS
   2          PLEASE TAKE NOTICE that, on November 22, 2024 at 1:30 p.m., or as
   3    soon thereafter as the matter may be heard in Courtroom 9B in the U.S. District
   4    Court for the Central District of California, located at the First Street Courthouse,
   5    350 W. 1st Street, Courtroom 9B, 9th Floor, Los Angeles, California 90012, before
   6    the Honorable Wesley Hsu, Specially Appearing Defendants Feras Antoon and
   7    David Tassillo will move, and hereby move, for an Order dismissing Plaintiff’s
   8    Second Amended Complaint pursuant to Federal Rules of Civil Procedure
   9    12(b)(2), 12(b)(6) and 9(b).
   10         Neither Antoon nor Tassillo consents nor submits to the jurisdiction of this
   11   Court, and they appear in this action for the limited purpose of contesting
   12   jurisdiction.
   13         This Motion is made following the conference of counsel pursuant to L.R. 7-
   14   3, which took place on August 22, 2024.
   15          If the Court finds jurisdiction over Mr. Antoon and Mr. Tassillo, they
   16   respectfully move for dismissal on the ground that Plaintiff has failed to state a
   17   claim against them upon which relief can be granted. This motion is based on this
   18   Notice of Motion, the accompanying Memorandum of Law, and all other matters
   19   properly before this Court.
   20   DATED: August 30, 2024                  Respectfully Submitted,
   21

   22
                                         By: /s/ Jonathan S. Sack

   23                                        MORVILLO ABRAMOWITZ GRAND
   24
                                             IASON & ANELLO PC
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   25                                        Alexander F.R. Peacocke (pro hac vice
   26                                        pending)

   27                                        Attorneys for Specially Appearing Defendant
   28                                        David Tassillo

             FERAS ANTOON AND DAVID TASSILLO’S MOTION TO DISMISS
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   21   Federal Rule of Civil Procedure 4 ........................................................................... 12
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        Federal Rule of Civil Procedure 9 ....................................................................... 3, 10
   23
        Federal Rule of Civil Procedure 12 ..................................................................... 3, 10
   24

   25   Federal Rule of Civil Procedure 20 ........................................................................... 4
   26
   27

   28
                                     - xi -
              FERAS ANTOON AND DAVID TASSILLO’S MOTION TO DISMISS
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    1                                   INTRODUCTION
    2          Plaintiff Serena Fleites has now had three opportunities to plead facts
    3   sufficient to make out personal jurisdiction over Feras Antoon and David Tassillo,
    4   who both live and work in Canada. In granting jurisdictional discovery, this Court
    5   previously urged Plaintiff to dismiss any defendant from this action if, after
    6   jurisdictional discovery, she could not “clearly define a defendant’s conduct as it
    7   relates to her harm.” ECF No. 168 at 2. After more than one year taking
    8   jurisdictional discovery and taking nearly that long again to prepare a Second
    9   Amended Complaint (“SAC”), ECF No. 387-1, Plaintiff has failed completely to
   10   do what the Court urged, and the present complaint should be dismissed as to
   11   Antoon and Tassillo.1
   12         Defendants have produced more than 99,000 pages of documents, answered
   13   dozens of interrogatories and requests for admission, and Plaintiff took seven
   14   jurisdictional depositions, including day-long depositions of Antoon and Tassillo.
   15   Despite this wealth of information, the SAC does not include a single factual
   16   allegation that either Antoon or Tassillo purposefully directed their conduct at
   17   either California or the United States, and all but concedes that Antoon and
   18   Tassillo do not have relevant jurisdictional contacts with the United States.
   19   Plaintiff does not attempt to make a jurisdictional case against Antoon or Tassillo
   20   individually, but as this Court has previously noted, she continues to “merely
   21   guess[] at who bears responsibility.” ECF No. 167 at 5.
   22         Having effectively abandoned her effort to allege jurisdictional facts against
   23   Antoon or Tassillo individually, Plaintiff now attempts to claim they are the alter
   24

   25   The arguments in the present motion are essentially the same for individual
        1

      defendants Antoon and Tassillo, former CEO and COO, respectively, of one of the
   26 corporate defendants, 9219-1568 Quebec, Inc. Accordingly, we make the present
      motion jointly in the interest of judicial economy and noting Judge Carney’s
   27 admonition to avoid spending “multiple pages” that “repetitively walk through
      several district court cases” in support of arguments that are equally applicable to
   28 defendants. ECF No. 167 at 8.
                                                1
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    1   egos of several MindGeek entities. She alleges that based on their former positions
    2   as officers of one of the MindGeek corporate defendants subject to this Court’s
    3   jurisdiction (the “Non-Contesting Defendants”) and as minority shareholders, the
    4   jurisdictional contacts of various MindGeek subsidiaries should be imputed to
    5   Antoon and Tassillo. This effort fails because of the completely deficient
    6   allegations in the SAC and the absence of support in the jurisdictional discovery
    7   record. The SAC does not allege facts that make a prima facie showing of any of
    8   the essential elements of an alter ego theory of personal jurisdiction.
    9         Plaintiff fails to establish both prongs of her alter ego theory. As to the first
   10   prong, Plaintiff cannot establish that continued respect of the corporate form would
   11   sanction a “fraud or promote injustice.” Plaintiff does not proffer any facts
   12   demonstrating misuse of the corporate form, let alone misuse that caused
   13   Plaintiff’s alleged injury or deprived her of a right. In almost every instance where
   14   a plaintiff attempts to invoke the alter ego doctrine, the plaintiff alleges that entities
   15   are undercapitalized and thus judgment-proof. But Plaintiff does not attempt to
   16   make such allegations here; in fact, she alleges that MindGeek is a “dominant,
   17   monopolistic” company operating in a nearly $100 billion market. Her conclusory
   18   theory of injustice—that MindGeek entities were structured to “escape liability”—
   19   has been rejected by the Ninth Circuit. This deficiency alone is enough for this
   20   Court to reject Plaintiff’s assertion of personal jurisdiction.
   21         As to the second prong, Plaintiff fails to allege a “unity of interest and
   22   ownership” such that the separateness of the corporation and Antoon or Tassillo
   23   has effectively ceased. Despite the benefits of discovery, Plaintiff once again
   24   resorts to impermissible group pleading regarding ultimate control of MindGeek—
   25   at times alleging that the majority shareholder, Bernd Bergmair, had ultimate
   26   control; at other times alleging that Bergmair, Antoon, and Tassillo had ultimate
   27   control; and at still other times alleging MindGeek’s lenders had ultimate control.
   28
                                     2
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    1   Such contradictory allegations fail to demonstrate that Antoon or Tassillo
    2   dominated every facet of MindGeek’s business.
    3         Turning to the substantive counts of the SAC, Plaintiff has also failed to
    4   state a claim against either Antoon or Tassillo. Like the earlier complaints in this
    5   action, the SAC continues to engage in impermissible group pleading, failing to
    6   put Antoon or Tassillo on notice of the allegations against them, and fails to state a
    7   claim upon which relief can be granted as to any count. Moreover, every one of
    8   the SAC’s claims against Antoon or Tassillo arise from content provided by a third
    9   party to a website and seeks to hold the website liable as the publisher of that
   10   content. Claims such as these are precisely those that Congress intended to
   11   preclude under Section 230 of the Communications Decency Act (“CDA”),
   12   47 U.S.C. § 230, and fail for that reason.
   13         Having failed to plead sufficient facts to support personal jurisdiction or
   14   state a claim, the Court should dismiss Plaintiff’s claims against Antoon and
   15   Tassillo, without leave to amend.2
   16                                    BACKGROUND3
   17   Procedural History
   18         On June 17, 2021, 34 plaintiffs commenced this lawsuit, asserting 19 causes
   19   of action against seven MindGeek-related entities4 (the “MindGeek Entity
   20

   21
        2
          The Court should also dismiss Plaintiff’s claims against Antoon and Tassillo for
        the reasons set forth in concurrently filed memoranda of points and authorities
   22
        submitted by the MindGeek Entity Defendants and Bernd Bergmair pursuant to
        Federal Rules of Civil Procedure 12(b)(2), 12(b)(6) and 9(b), with which Antoon
   23
        and Tassillo join.
        3
          For purposes of a motion to dismiss, the well-pleaded factual allegations in the
   24   SAC are assumed to be true. AT&T v. Compagnie Bruxelles Lambert, 94 F.3d 586,
        588 (9th Cir. 1996). Antoon and Tassillo’s recitation of the “facts” herein is based
   25   on the allegations in the SAC, is made solely for the purposes of this motion, and
        does not speak to the accuracy of any allegation.
   26   4
          These entities are MindGeek S.a.r.l., a Luxembourg holding company; MG
   27
        Freesites, Ltd., a Cypriot company; MindGeek USA Incorporated, a Delaware
        corporation; MG Premium Ltd., a Cypriot company; MG Global Entertainment, Inc.,
   28
                                    3
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    1   Defendants”)5, Visa, Inc., former MindGeek majority shareholder Bernd Bergmair,
    2   and two former executives of a Canadian MindGeek subsidiary and minority
    3   shareholders, Antoon and Tassillo (together with Bergmair, the “Individual
    4   Defendants”).6 Plaintiff’s first two complaints read like a T.V. movie script
    5   looking for headlines and viewership, loaded with inflammatory language and
    6   irrelevant allegations. ECF No. 1 ¶¶ 3, 93, 136-47. The SAC removes some, but
    7   not all of these references, but still fails to cure the fundamental defects in
    8   Plaintiff’s claims.
    9         On October 20, 2021, Antoon, Tassillo and the other defendants filed
   10   companion motions to dismiss the complaint for lack of personal jurisdiction and
   11   for failure to state a claim upon which relief can be granted. ECF Nos. 62, 67, 68,
   12   69, 70. Antoon and Tassillo, foreign defendants, argued that the complaint was
   13   devoid of allegations that they had the requisite minimum contacts with California
   14   or the United States, and that the complaint failed to state a claim against them.
   15   See, e.g., ECF No. 67.
   16         On November 1, 2021, the MindGeek Entity Defendants moved to sever and
   17   dismiss the plaintiffs on the basis that they had been improperly joined under Federal
   18   Rule of Civil Procedure 20(a). ECF No. 75. Antoon and Tassillo and the other
   19   Individual Defendants joined the motion to sever. ECF Nos. 76, 81, 82, 86.
   20         On February 10, 2022, the Court granted the MindGeek Entity Defendants’
   21   motion to sever and dismiss on the basis that Plaintiffs’ claims did not arise out of
   22

   23

   24   a Delaware corporation; and 9219-1568 Quebec, Inc., a corporation established
        under the laws of the Province of Québec. See SAC ¶¶ 11-16.
   25   5
          Plaintiff’s SAC defines the MindGeek Entity Defendants as “MindGeek” but also
   26   defines the “MindGeek Defendants” to include both the entities and the Individual
        Defendants. SAC at p. 1. For clarity, this brief distinguishes between the
   27   “MindGeek Entity Defendants” and the “Individual Defendants.”
        6
          Plaintiff also previously brought claims against a Canadian MindGeek employee,
   28   Corey Urman. The SAC has no claims against him.
                                                  4
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    1   the same series of transactions or occurrences because the
    2
              alleged occurrences of sex trafficking, child pornography, and
    3         appropriation and misuse of likeness differ[ed] substantially in where
    4
              the improper conduct allegedly occurred, how it occurred, and who
              perpetrated the conduct . . . . [The Plaintiffs] were victimized by
    5         different individuals . . . . [The Plaintiffs’] videos that were posted to
    6         MindGeek’s platforms also were posted at different time periods. . . .
              [The] interactions with MindGeek [] var[ied] widely.
    7

    8   ECF No. 119 at 9-10. The Court held that “Plaintiff Serena Fleites will continue as
    9   the only named Plaintiff in this action,” and the Court dismissed without prejudice
   10   the claims of the other 33 plaintiffs. Id. at 19.
   11         On March 21, 2022, Plaintiff moved to amend the complaint to add and
   12   remove certain defendants, specifically “to (i) remove Defendant Traffic Junky Inc.
   13   as a separate defendant, (ii) remove defendant RK Holdings USA Inc., (iii) add
   14   defendant 9219-1568 Quebec, Inc. (d/b/a MindGeek), and (iv) substitute Colbeck
   15   Capital Does 1-10 and Bergmair Does 1-10 with Colbeck Capital Does 1-5 and
   16   Bergmair Does 1-5 respectively.” ECF No. 124-1 at 1.
   17         On April 14, 2022, the Court granted Plaintiff’s motion to amend to add and
   18   remove certain defendants and entered a joint stipulation setting forth a May 23,
   19   2022 deadline to respond to the First Amended Complaint. ECF No. 128.
   20         On May 23, 2022, the Defendants again moved to dismiss Plaintiff’s First
   21   Amended Complaint. ECF Nos. 135, 136, 137, 138, 139, 140. On July 29, 2022,
   22   the Court granted in part and denied in part Visa Inc.’s motion to dismiss, ECF No.
   23   166, granted Plaintiff the opportunity to engage in jurisdictional discovery, and
   24   denied the other motions to dismiss without prejudice. ECF No. 167 at 8.
   25         In granting Plaintiff leave to amend a second time, “the Court urg[ed] Plaintiff
   26   and her counsel not to use this opportunity to further complicate this case,” and to
   27   avoid “engag[ing] in scattershot, group pleading, largely failing to identify the
   28   MindGeek Defendants’ individual roles in causing her harm.” ECF No. 168 at 2
                                             5
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    1   (emphasis added).     The Court authorized jurisdictional discovery “to provide
    2   Plaintiff the information she needs to make a clear statement regarding the role and
    3   conduct of each MindGeek Defendant separately.” ECF No. 168 at 2 (emphasis
    4   added). It further clarified that “if jurisdictional discovery does not yield the
    5   information [Plaintiff] needs to clearly define a defendant’s conduct as it relates
    6   to her harm, then that defendant should simply be dismissed so this case can
    7   proceed without further unnecessary delay.” ECF No. 168 at 2 (emphasis added).
    8          During jurisdictional discovery, Plaintiff served document requests,
    9   interrogatories and requests for admission, and took seven depositions. Antoon
   10   and Tassillo each produced documents, answered interrogatories and requests for
   11   admission, and each sat for full-day jurisdictional depositions.7 The MindGeek
   12   Entity Defendants produced nearly 100,000 pages of documents, including emails,
   13   corporate structuring and financial documents, board minutes and resolutions, audit
   14   materials, policies and procedures, and more. Jurisdictional discovery closed on
   15   June 16, 2023. ECF No. 344. Plaintiff filed her SAC more than 11 months later,
   16   on May 23, 2024. ECF No. 387-1.
   17   MindGeek
   18         Plaintiff improperly lumps together six corporate defendants—mostly non-
   19   U.S. entities—and treats them as a single business entity called “MindGeek.” SAC
   20   at p. 1. The “MindGeek” at issue in this case is the operator of various
   21   pornographic websites, including Pornhub. SAC ¶ 11.
   22         MindGeek’s business model is similar to that of YouTube. It offers free
   23   content, primarily videos uploaded by users and third-party businesses, and uses
   24   traffic generated by that content to (a) advertise additional pornographic sites that
   25

   26  Plaintiff accuses Antoon and Tassillo of withholding documents in discovery. SAC
        7

      ¶ 373. Like many of the accusations in the SAC, the claim lacks merit and is
   27 designed to insinuate impropriety without support. Tellingly, despite accusing
      Antoon and Tassillo of withholding documents, Plaintiff does not identify the
   28 documents allegedly withheld.
                                                6
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    1   offer paid content; (b) sell advertising for products; and (c) gather user data for
    2   marketing and development. SAC ¶¶ 13-15, 38. MindGeek has comprehensive
    3   terms of service, to which users are required to agree before using the site. SAC ¶¶
    4   46-47. It also employs moderators to screen the content on its websites, investigate
    5   and respond to complaints, and engage with law enforcement. See, e.g., SAC ¶¶
    6   79, 201.
    7   The Second Amended Complaint
    8         According to the SAC, in 2014, Plaintiff was in the eighth grade when she
    9   learned that a sexually explicit video of her, which her then-high school boyfriend
   10   coerced her to make, was uploaded to Pornhub without her knowledge or consent.
   11   SAC ¶ 448. The video was on the platform for an unspecified number of months
   12   before Plaintiff learned of its existence. Plaintiff’s efforts to have the video removed
   13   lasted several weeks. SAC ¶ 450-53. In the months before the video was removed,
   14   it was downloaded and reuploaded by different users and with different titles. SAC
   15   ¶ 452. At least one year later, when Plaintiff was still a minor, a different boyfriend
   16   manipulated her into making sexually explicit videos, which were uploaded to
   17   various websites, including Pornhub, without Plaintiff’s consent. SAC ¶¶ 457-58.
   18         Setting aside the irrelevant allegations, the gravamen of the SAC is relatively
   19   straightforward. Plaintiff alleges that MindGeek knew or should have known that
   20   the videos taken of her were illegally made and/or posted without her consent and
   21   should have taken the videos down more quickly. The remaining hundreds of
   22   paragraphs of allegations are distractions rife with innuendo, “shotgun” pleading,
   23   and conclusory statements. 8
   24

   25

   26
   27   Antoon and Tassillo dispute the allegations of misconduct stated in the SAC, but
        8

      recognize that the Court must, to the extent properly pled, accept them as true for
   28 the purposes of this motion.
                                               7
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    1   Feras Antoon and David Tassillo
    2         Feras Antoon and David Tassillo, both Canadian residents, are the former
    3   Chief Executive Officer and Chief Operating Officer, respectively, of 9219-1568
    4   Quebec, Inc. (“9219 Inc.”).9 SAC ¶¶ 18, 19. Antoon and Tassillo both previously
    5   worked at a predecessor corporation, Manwin, which became MindGeek in 2013.
    6   SAC ¶ 151. Antoon and Tassillo became CEO and COO of 9219 Inc., in 2013, and
    7   acquired their minority equity interest the same year. SAC FN 1, ¶¶ 18, 19, 151,
    8   316-17. 9219 Inc., occasionally referred to as “MindGeek Canada,” SAC ¶ 16, is a
    9   service company that provides managerial, administrative, engineering, sales, and
   10   other services to a number of other entities that in turn operate MindGeek’s websites,
   11   including PornHub.10
   12         Plaintiff alleges that both Antoon and Tassillo “exercised control over all
   13   [MindGeek] entities and their collective businesses, including being aware of,
   14   endorsing, and implementing the illegal activities alleged” in the SAC. SAC ¶¶ 18,
   15   19. However, Antoon and Tassillo were minority shareholders in the group that
   16   controlled MindGeek. See Tassillo Decl. ¶¶ 19-33. At all times relevant to this
   17   action, the MindGeek Entity Defendants observed appropriate corporate formalities,
   18   kept separate bank accounts as to which neither Antoon nor Tassillo access, and
   19   were managed by their respective officers and directors. Tassillo Decl. ¶ 34-38.
   20   Antoon and Tassillo both signed separation agreement with 9219 Inc. in June 2022.
   21   Tassillo Decl. ¶ 18. In 2023, Antoon, Tassillo and majority shareholder Bernd
   22

   23   9
           Plaintiff incorrectly alleges Antoon and Tassillo stated in testimony before the
        Canadian Parliament that they were
   24                     SAC ¶ 426. Antoon made clear in his opening statement that he and
        Tassillo were CEO and COO “of Enterprise MindGeek Canada,” referring to 9219-
   25   1568 Quebec, Inc.
   26   https://www.ourcommons.ca/Content/Committee/432/ETHI/Evidence/EV1109841
        2/ETHIEV19-E.PDF.
   27   10
           9219 Inc. provided services to multiple MindGeek operating companies and billed
        those companies on a cost-plus basis, subject to regularly conducted transfer-pricing
   28   studies. See Andreou Decl. ¶¶ 15-16.
                                                   8
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    1   Bergmair sold their interests in MindGeek to an unrelated third party. SAC at p. 1
    2   n.1 & ¶¶ 18, 19; Tassillo Decl. ¶ 33.
    3         Plaintiff asserts 14 causes of action against Antoon and Tassillo.
    4         Four of Plaintiff’s causes of action assert federal claims: Counts I and IV
    5   allege violations of the Trafficking Victims Protection Reauthorization Act
    6   (“TVPRA”), 18 U.S.C. §§ 1591(A)(1), 1591(A)(2), 1595, (Count I), SAC ¶¶ 463-
    7   75; 18 U.S.C. §§ 1594(c), 1595 (Count IV), SAC ¶¶ 499-507. Counts V and VI
    8   allege violations of the federal child pornography possession and transportation
    9   statutes, 18 U.S.C. §§ 2252, 2255 (Count V), SAC ¶¶ 508-16; 18 U.S.C. §§ 2252A,
   10   2255 (Count VI), SAC ¶¶ 517-28.
   11         Plaintiff also asserts 10 California law claims against Antoon and Tassillo.
   12   Count VII asserts a common law tort claim for public disclosure of private facts.
   13   SAC ¶¶ 529-36. Count VIII asserts a common law tort claim for intrusion into
   14   private affairs. SAC ¶¶ 537-41. Count IX asserts a common law tort claim for
   15   placing plaintiff in false light. SAC ¶¶ 542-48. Count X asserts a common law
   16   tort claim for misappropriation of name and likeness. SAC ¶¶ 549-54. Count XI
   17   asserts a statutory claim for misappropriation of name and likeness in violation of
   18   California Civil Code § 3344. SAC ¶¶ 555-60. Count XII asserts a statutory claim
   19   for distribution of private sexually explicit materials in violation of California Civil
   20   Code § 1708.85. SAC ¶¶ 561-67. Count XIII asserts a common law tort claim for
   21   negligence. SAC ¶¶ 568-72. Count XIV asserts statutory claim for violation of
   22   California Business and Professions Code §§ 17200, 17500. SAC ¶¶ 573-83.
   23   Count XV asserts a statutory claim for violation of California’s Trafficking
   24   Victims Protection Act, California Civil Code § 52.5. SAC ¶¶ 584-89. Count XVI
   25   asserts a common law claim for civil conspiracy. SAC ¶¶ 590-94.
   26                                  LEGAL STANDARD
   27         As a threshold matter, Plaintiff bears the burden of making a prima facie
   28   showing of personal jurisdiction. Martinez v. Aero Caribbean, 764 F.3d 1062,
                                                9
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    1   1066 (9th Cir. 2014). Under Rule 12(b)(2), when Plaintiff cannot make such a
    2   showing, the complaint must be dismissed. Morrill v. Scott Fin. Corp., 873 F.3d
    3   1136, 1141–42 (9th Cir. 2017).
    4          In addition, a complaint must be dismissed under Rule 12(b)(6) unless it
    5   “contain[s] sufficient factual matter, accepted as true, to state a claim to relief that is
    6   plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).
    7   Only specific factual allegations are accepted as true, not legal assertions,
    8   “[t]hreadbare recitals of the elements,” or “conclusory statements.” Id.
    9          Under Federal Rule of Civil Procedure 9(b), a party alleging fraud must “state
   10   with particularity the circumstances constituting fraud.” Fed. R. Civ. P. 9(b). Rule
   11   9(b) applies not only to explicit claims of fraud, but also the parts of a complaint that
   12   are “said to be ‘grounded in fraud’ or to ‘sound in fraud,’ and the pleading of that
   13   claim as a whole must satisfy the particularity requirement of Rule 9(b).” Vess v.
   14   Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103–04 (9th Cir. 2003). When alter ego
   15   allegations sound in fraud, they too must be pled with particularity under Rule 9(b).
   16   Wimbledon Fund, SPC v. Graybox, LLC, No. 15-CV-6633 (CAS) (AJWX), 2016
   17   WL 7444709, at *5 (C.D. Cal. Aug. 31, 2016).11 Rule 9(b) “requires that a plaintiff
   18   plead ‘the who, what, when, where, and how’ of the alleged fraudulent activity.”
   19   Edwards v. Scott David Leonard, Gia’s Life Fund, LLC, No. 2:23-CV-04437 (WLH)
   20   (RAOX), 2023 WL 11664594, at *2 (C.D. Cal. Oct. 24, 2023)                       (Hsu, J.)
   21   (quoting Kearns v. Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009)).
   22

   23   11
           Some district courts within the Ninth Circuit have concluded that when alter ego
        allegations do not per se allege fraud, those allegations are not subject to Rule 9(b).
   24   See Ardente, Inc. v. Shanley, No 3:07-CV-04479 (MHP), 2010 WL 546485, at *4
        (N.D. Cal. Feb. 10, 2010) (declining to apply Rule 9(b) to alter ego claims). Those
   25   cases are inapposite for two reasons. First, a substantial number of Plaintiff’s alter
        ego allegations allege fraud or a “sham,” and thus must be pleaded with particularity
   26   in any event because they are either grounded in fraud or sound in fraud. See, e.g.,
        SAC ¶¶ 20, 21, 23, 149, 313, 316, 357-58, 464, 477, 490, 541, 548, 585, 574-82,
   27   589. Second, even if Rule 9(b) is inapplicable to Plaintiff’s alter ego allegations, her
        allegations are still so vague, conclusory, and compound that they fail under Rule
   28   8(a).
                                                  10
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    1                                        ARGUMENT
    2           The SAC should be dismissed for lack of personal jurisdiction under Federal
    3   Rule of Civil Procedure 12(b)(2) and for failing to state a claim upon which relief
    4   can be granted under Rule 12(b)(6). Despite ample jurisdictional discovery and a
    5   third opportunity to plead legally sufficient claims, the SAC suffers from the same
    6   fatal defect as the original two complaints—the complete absence of specific
    7   factual allegations sufficient to make a prima facie showing of personal
    8   jurisdiction or to attribute unlawful conduct by Antoon or Tassillo that harmed
    9   Plaintiff. Plaintiff still does not plead facts sufficient to establish personal
   10   jurisdiction over Antoon or Tassillo in California or the United States, and Plaintiff
   11   has also failed to—and cannot—demonstrate that Antoon or Tassillo are the alter
   12   egos of any of the Non-Contesting Defendants. Nor does Plaintiff meet basic
   13   notice pleading requirements, much less the heightened pleading standard
   14   applicable to claims that sound in fraud.
   15           The SAC also fails under Rule 12(b)(6), as she does not state a claim upon
   16   which relief can be granted, and further because her claims are precluded by
   17   Section 230 of the CDA. Congress intended to bar claims arising from precisely
   18   what happened here: a third party’s posting of content on a website. None of the
   19   relevant exceptions to Section 230 are applicable. For these reasons, and for the
   20   reasons discussed in detail below, the claims against Antoon and Tassillo should be
   21   dismissed in their entirety, without leave to amend.
   22      I.      THE COURT DOES NOT HAVE PERSONAL JURISDICTION
   23              OVER FERAS ANTOON OR DAVID TASSILLO
   24           Plaintiff has failed in her third attempt to make a prima facie showing of

   25   personal jurisdiction over either Antoon or Tassillo. As this Court has recognized:

   26   “personal jurisdiction is just that: personal.” ECF No. 167 at 3 n.3 (emphasis in

   27   original). This means that “a plaintiff must establish personal jurisdiction over each

   28   defendant individually,” including in cases where “defendants are jointly liable.”
                                     11
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    1   Billion Int’l Trading Inc. v. Universal Sportswear Inc., No. 2:12-CV-06705 (BRO)
    2   (EX), 2013 WL 12403059, at *5 (C.D. Cal. Dec. 27, 2013) (citing Sher v. Johnson,
    3   911 F.2d 1357, 1365 (9th Cir. 1990)); see also Calder v. Jones, 465 U.S. 783, 790
    4   (1984) (“Each defendant’s contacts with the forum State must be assessed
    5   individually”).
    6         The SAC does not allege that Canadian citizens Antoon or Tassillo took any
    7   action in, or directed any action toward, California or the United States, nor that
    8   either of them took any action that related in any way to Plaintiff. Thus, like her
    9   prior two complaints, the SAC fails to plead sufficient factual allegations to support
   10   an exercise of personal jurisdiction against Antoon and Tassillo individually. See,
   11   e.g., In re Auto. Antitrust Cases I and II, 135 Cal. App. 4th 100, 113 (2005)
   12   (“Allegations of conspiracy do not establish as a matter of law that if one conspirator
   13   comes within the personal jurisdiction of our courts, then California may exercise
   14   jurisdiction over other nonresident defendants who are alleged to be part of that same
   15   conspiracy. Personal jurisdiction must be based on forum-related acts that were
   16   personally committed by each non-resident defendant.”)
   17

   18
                  A.      Jurisdictional Legal Standard

   19         A court’s exercise of personal jurisdiction over a nonresident defendant must
   20   have both a statutory and constitutional basis. Sher, 911 F.2d at 1360–61; Fed. R.
   21   Civ. P. 4(k). Here, Plaintiff claims that each defendant, including Antoon and
   22   Tassillo, is subject to the jurisdiction of the California courts pursuant to its long-
   23   arm statute, Cal. Civ. Proc. Code § 410.10, and in the alternative, that they are
   24   subject to jurisdiction pursuant to Federal Rule of Civil Procedure 4(k)(2). SAC ¶¶
   25   29-37. California’s long arm statute permits the exercise of jurisdiction “on any
   26   basis not inconsistent with the Constitution of this state or of the United States,” Cal.
   27   Civ. Proc. Code § 410.10, and thus “the jurisdictional analyses under [California]
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    1   state law and federal due process are the same.” Mavrix Photo, Inc. v. Brand Techs.,
    2   Inc., 647 F.3d 1218, 1223 (9th Cir. 2011).
    3         Rule 4(k)(2) provides a basis for jurisdiction when a defendant is not subject
    4   to the jurisdiction in any single state, but is subject to the jurisdiction of the United
    5   States as a whole. It permits a federal court to exercise personal jurisdiction over a
    6   defendant if that defendant is “not subject to jurisdiction in any state’s courts of
    7   general jurisdiction” and that the exercise of jurisdiction would otherwise be
    8   consistent with the U.S. Constitution and laws. “The due process analysis under
    9   Rule 4(k)(2) is nearly identical to traditional personal jurisdiction analysis with one
   10   significant difference: rather than considering contacts between [the defendant] and
   11   the forum state, we consider contacts with the nation as a whole.” Axiom Foods,
   12   Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1072 (9th Cir. 2017) (quoting Holland
   13   Am. Line Inc. v. Wartsila N. Am., Inc., 485 F.3d 450, 462 (9th Cir. 2007)).
   14         Plaintiff cannot establish that Antoon or Tassillo is subject to specific or
   15   general jurisdiction, either in California or the United States as a whole. To be
   16   subject to general jurisdiction, a defendant’s affiliations with the forum state must
   17   be “so ‘continuous and systematic’ as to render [him] essentially at home in the
   18   forum.” Daimler AG v. Bauman, 571 U.S. 117, 138–39 (2014) (quoting Goodyear
   19   Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)). For individuals,
   20   the “paradigm forum” for personal jurisdiction is the individual’s domicile. Bristol-
   21   Myers Squibb Co. v. Superior Ct. of California, San Francisco Cnty., 582 U.S. 255,
   22   262 (2017).
   23         Plaintiff acknowledges that Antoon and Tassillo are residents of Canada and
   24   does not allege they have such systematic and continuous affiliations with the U.S.
   25   or California to render them essentially at home in either place. SAC ¶¶ 18, 19.
   26   Neither Antoon nor Tassillo can thus be subject to general jurisdiction in this Court.
   27   See ScoreBlue, LLC v. Locum Tele PC, No. 2:23-CV-00345 (WLH) (AS), 2024 WL
   28   3304515, at *3 (C.D. Cal. May 29, 2024) (declining to exercise jurisdiction against
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    1   individual defendants, all of whom are domiciled outside California, as “Plaintiff
    2   argues that general personal jurisdiction exists over all the Defendants in California
    3   but does not present evidence to dispute Defendants’ general personal jurisdictional
    4   arguments.”)
    5         Plaintiff also cannot establish specific jurisdiction over Antoon or Tassillo.
    6   Courts within the Ninth Circuit use a three-part test to establish specific personal
    7   jurisdiction over nonresident defendants:
    8         (1) The non-resident defendant must purposefully direct his activities
    9         or consummate some transaction with the forum or resident thereof; or
   10         perform some act by which he purposefully avails himself of the
   11         privilege of conducting activities in the forum, thereby invoking the
   12         benefits and protections of its laws; (2) the claim must be one which
   13         arises out of or relates to the defendant’s forum-related activities; and
   14         (3) the exercise of jurisdiction must comport with fair play and
   15         substantial justice, i.e. it must be reasonable.
   16   LNS Enterprises LLC v. Cont’l Motors, Inc., 22 F.4th 852, 859 (9th Cir. 2022)
   17   (quoting In re W. States Wholesale Nat. Gas Antitrust Litig., 715 F.3d 716, 741–42
   18   (9th Cir. 2013)).
   19         Plaintiff bears the burden of establishing the first two parts of the test, and if
   20   that burden is carried, the defendant must demonstrate a compelling case as to why
   21   the exercise of jurisdiction would not be reasonable. Id. When claims are asserted
   22   against a foreign defendant, a plaintiff “must meet a higher jurisdictional threshold
   23   than is required when the defendant is a United States citizen.” See Core-Vent Corp.
   24   v. Nobel Indus. AB, 11 F.3d 1482, 1490 (9th Cir. 1993), holding modified on other
   25   grounds by Yahoo! Inc. v. La Ligue Contre Le Racisme Et L’Antisemitisme, 433 F.3d
   26   1199 (9th Cir. 2006).
   27

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                  B.    Plaintiff Does Not Plead Any Facts Demonstrating Antoon or
    1                   Tassillo Personally Directed Their Conduct at California or
                        Availed Themselves of The Benefits of Doing Business Here
    2

    3         As to the first prong of the test for specific jurisdiction, the SAC is devoid of
    4   factual allegations claiming that Antoon or Tassillo—as opposed to a MindGeek
    5   Entity or another defendant—directed their conduct at California or the United
    6   States. The SAC devotes 10 paragraphs specifically to jurisdiction and venue
    7   allegations, but none of those paragraphs mention either Antoon or Tassillo by name.
    8   SAC ¶¶ 28-37. Confusingly, many of these purported “jurisdictional” allegations
    9   refer only to “defendants” generally, without mentioning whether they are
   10   discussing the Individual Defendants, the MindGeek Entity defendants, the lender
   11   defendants, or Visa. See SAC ¶¶ 29, 30, 31.
   12         The allegations regarding “defendants” generally are so vague and conclusory
   13   (e.g., that unspecified defendants “directed their activities at United States citizens
   14   and California residents,” SAC ¶ 30), they cannot support any assertion of personal
   15   jurisdiction even if they did clearly identify which defendant they are discussing.
   16   “[A]llegations [which are] conclusory at best, are plainly insufficient to invoke
   17   personal jurisdiction.” SEC v. Jammin Java Corp., No. 2:15-CV-08921 (SVW)
   18   (MRW), 2016 WL 6595133, at *11 (C.D. Cal. July 18, 2016). It is also a “basic
   19   pleading defect for a complaint to ‘lump’ parties together and to fail to distinguish
   20   between named defendants.” Beatport LLC v. SoundCloud Ltd, No. 2:19-CV-00847
   21   (MRW), 2020 WL 3977602, at *5 (C.D. Cal. July 13, 2020). These allegations do
   22   not support an exercise of personal jurisdiction against either Antoon or Tassillo.
   23         Critically, the remainder of the SAC has no other factual jurisdictional
   24   allegations against Antoon or Tassillo. The SAC does not allege that Antoon or
   25   Tassillo took any action directed at the United States or California, that they
   26   purposefully availed themselves of the privilege of doing business there, or even
   27   interacted with Plaintiff at all. Without at least some such allegations, this Court
   28   may not exercise personal jurisdiction over Antoon and Tassillo in their individual
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    1   capacity. See ScoreBlue, 2024 WL 3304515, at *6 (“The proper analysis in tort
    2   cases looks to the defendant’s contacts with the forum State itself, not the
    3   defendant’s contacts with persons who reside there. The plaintiff cannot be the only
    4   link between the defendant and the forum.”) (internal quotation marks and citations
    5   omitted).
    6         As to the second prong of the specific jurisdiction test, Plaintiff has failed to
    7   plead facts that demonstrate that her claims “arise out of or relate to” any forum-
    8   related activities by Antoon or Tassillo. Ayla, LLC v. Alya Skin Pty. Ltd., 11 F.4th
    9   972, 983 (9th Cir. 2021) (quoting Ford Motor Co. v. Montana Eighth Jud. Dist. Ct.,
   10   592, U.S. 351, 362 (2021)). Plaintiff devotes substantial portions of the SAC to
   11   discussing matters that could not possibly arise from or relate to her claims. This
   12   includes unrelated allegations that MindGeek paid for nonconsensual content that
   13   did not depict Plaintiff, SAC ¶¶ 136-47, and allegations concerning whether
   14   statements made by nonparties to either the press or on social media were accurate,
   15   SAC ¶¶ 198-244. These allegations cannot be considered as supporting personal
   16   jurisdiction here, as they are entirely divorced from Plaintiff’s claims.
   17         Finally, although the Plaintiff has not met her pleading burden, it is clear that
   18   an assertion of jurisdiction over either Antoon or Tassillo would offend traditional
   19   notions of fair play and substantial justice. It would be unreasonable to hale them
   20   into court in California without any well-founded allegation that either Antoon or
   21   Tassillo had contacts with the forum. Int’l Shoe Co. v. State of Wash., Off. of
   22   Unemployment Comp. & Placement, 326 U.S. 310, 316 (1945) (citing Milliken v.
   23   Meyer, 311 U.S. 457, 463 (1940)).
   24         C.        Plaintiff Fails to Overcome the Fiduciary Shield Doctrine
   25                   Because She Has Not Adequately Pled Personal Jurisdiction
                        Under an Alter Ego Theory
   26
              Under the fiduciary shield doctrine, the Non-Contesting Defendants’ contacts
   27
        with California or the United States may not be imputed to Antoon or Tassillo.
   28
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    1   Abundant Living Fam. Church v. Live Design, Inc., No. 5:22-CV-00140 (RSWL)
    2   (MRW), 2022 WL 2176583, at *2 (C.D. Cal. June 15, 2022). Attempting to plead
    3   around this doctrine, Plaintiff alleges that the Non-Contesting Defendants’
    4   jurisdictional contacts should be imputed to Antoon and Tassillo under an alter ego
    5   theory of personal jurisdiction. See SAC ¶¶ 18-19. Plaintiff conclusorily alleges
    6   that the “entire structure” of the MindGeek business—which consists of “hundreds
    7   of subsidiaries, affiliates, and related parties located in dozens of jurisdictions
    8   throughout the world,” including the Non-Contesting Defendants—is “a sham and
    9   the alter ego” of Antoon, Tassillo, and Bergmair (i.e., the Individual Defendants)
   10   and was created “for illegal purposes and to insulate the Individual Defendants from
   11   liability.” SAC ¶¶ 18-23. Even with the benefit of jurisdictional discovery, the facts
   12   alleged in the SAC do not support Plaintiff’s theory.
   13         “A basic tenet of American corporate law is that the corporation and its
   14   shareholders are distinct entities.” Dole Food Co. v. Patrickson, 538 U.S. 468, 474
   15   (2003). The corporate form “serves as a shield for the individuals involved for
   16   purposes of liability as well as jurisdiction.” Davis v. Metro Prods., Inc., 885 F.2d
   17   515, 520 (9th Cir. 1989) (emphasis added). Under the “fiduciary shield” doctrine, a
   18   person’s mere association with a corporation “is not sufficient in itself to permit [a]
   19   forum to assert jurisdiction over the person,” even if the forum has personal
   20   jurisdiction over the corporation. Id. To ignore the corporate form, Plaintiff must
   21   “carr[y] a high burden” of establishing an exception to the fiduciary shield doctrine.
   22   Incipio, LLC v. Argento Sc By Sicura Inc., No. 8:17-CV-01974 (AG) (KES), 2018
   23   WL 4945002, at *2 (C.D. Cal. July 18, 2018) (citing Harris Rutsky & Co. Ins. Servs.
   24   v. Bell & Clements Ltd., 328 F.3d 1122, 1134 (9th Cir. 2003)).
   25         Both prior to and following discovery, Plaintiff has alleged that Antoon and
   26   Tassillo were the “alter egos” of the Non-Contesting Defendants. See ECF No. 151,
   27

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    1   at 72-77; SAC ¶ 21.12 To obtain the “extreme remedy” of veil piercing on an alter
    2   ego theory and imputing the jurisdictional contacts of a corporation to its
    3   shareholders, Hasso v. Hapke, 227 Cal. App. 4th 107, 155 (2014), as modified on
    4   denial of reh’g (July 15, 2014), Plaintiff must make a prima facie showing that (1)
    5   there is “a unity of interest and ownership” between the corporation and the
    6   shareholder such that “the individuality, or separateness, of the said person and
    7   corporation has ceased,” and that (2) continued respect of the corporate form “would
    8   sanction a fraud or promote injustice.” In re Boon Glob. Ltd., 923 F.3d 643, 653
    9   (9th Cir. 2019) (citation omitted). An alter ego theory of personal jurisdiction is
   10   permitted “only in exceptional circumstances.” Calvert v. Huckins, 875 F. Supp.
   11   674, 678 (E.D. Cal. 1995) (citation omitted).
   12         No such circumstances exist here. As to the “injustice” prong, Plaintiff fails
   13   to allege a cognizable “fraud” or “injustice” as against her caused by the corporate
   14   form. Even after discovery, Plaintiff does not allege that the MindGeek entities were
   15   undercapitalized such that she could not recover from the Non-Contesting
   16   Defendants or any other MindGeek Defendant. Instead, she alleges a conclusory
   17   and circular theory of alter ego liability that the Ninth Circuit has rejected: that the
   18   entities are structured to “escape liability.” See, e.g., In re Boon Global Ltd., 923
   19   F.3d at 654.
   20         As to the “unity of interest and ownership” prong, Plaintiff once again resorts
   21   to impermissible group pleading regarding ultimate control of MindGeek—at times
   22   alleging that all Individual Defendants had control, see, e.g., SAC ¶¶ 6, 14-16, 21,
   23   149, 349, at other times alleging Bergmair had ultimate control as the majority
   24   shareholder, see, e.g., SAC ¶¶ 109, 150, 157, 356, and at still other times alleging
   25

   26   The First Amended Complaint did not allege, nor did Plaintiff argue, that Antoon
        12
      or Tassillo were the “guiding spirit” behind the allegations giving rise to the
   27 complaint. See Davis, 885 F.2d at 524 n.10; Indiana Plumbing Supply, Inc. v.
      Standard of Lynn, Inc., 880 F. Supp. 743, 750 (C.D. Cal. 1995) (emphasis added).
   28 The SAC likewise includes no such allegations.
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    1   the Lenders had ultimate control, see, e.g., SAC ¶¶ 251, 259, 270, 272. Plaintiff’s
    2   contradictory allegations do not plausibly demonstrate that Antoon or Tassillo
    3   “dictat[ed] every facet of the [company]’s business.” Ranza v. Nike, Inc., 793 F.3d
    4   1059, 1073 (9th Cir. 2015) (citation omitted). The fact that Antoon and Tassillo held
    5   a minority interest in MindGeek, while providing managerial services to various
    6   MindGeek entities, in no way amounts to a “unity of interest and ownership.”
    7                1.     The SAC Does Not Allege “Injustice” Generally or
                            “Injustice” Caused by Acts of Antoon or Tassillo
    8
              The Court should dismiss the SAC as to Antoon and Tassillo solely based on
    9
        Plaintiff’s failure to allege a cognizable fraud or injustice. Plaintiff’s conclusory
   10
        allegations that the corporate form was designed in 2013 to “avoid” U.S.
   11
        pornography and tax laws has been rejected by the Ninth Circuit.
   12
              To state a claim for alter ego personal jurisdiction plaintiff must also allege
   13
        that the shareholders used the corporate form “unjustly and in derogation of the
   14
        plaintiff’s interests.” Gerritsen v. Warner Bros. Ent. Inc., 116 F. Supp. 3d 1104,
   15
        1135–36 (C.D. Cal. 2015) (quoting Mesler v. Bragg Mgmt. Co., 39 Cal. 3d 290, 300
   16
        (1985)); see also Butler v. Adoption Media, LLC, 486 F. Supp. 2d 1022, 1071 (N.D.
   17
        Cal. 2007) (same). “Even if improper conduct of a shareholder is shown,” a plaintiff
   18
        “must demonstrate a relationship between the misconduct and the plaintiff’s injury.”
   19
        Hambleton Bros. Lumber Co. v. Balkin Enters., 397 F.3d 1217, 1228 (9th Cir. 2005)
   20
        (citation omitted). In other words, “a ‘causal connection’ must be shown.” Id.
   21
              Plaintiff does not allege any facts demonstrating misuse of the corporate
   22
        structure by Antoon, or Tassillo, or anyone else, that caused her injury or deprived
   23
        her of a right. “In almost every instance where a plaintiff has attempted to invoke
   24
        the [alter ego] doctrine [s]he is an unsatisfied creditor.” Perfect 10, Inc. v. Giganews,
   25
        Inc., No. 2:11-CV-07098 (AB) (JPR), 2015 WL 12710753, at *3 (C.D. Cal. June 3,
   26
        2015), aff’d, 847 F.3d 357 (9th Cir. 2017) (citations omitted). But even with the
   27
        benefit of discovery, Plaintiff does not allege that the Non-Contesting Defendants
   28
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    1   are insufficient” to satisfy the injustice prong. In re Boon Global Ltd., 923 F.3d at
    2   654. “That the entities were set up in order to avoid potential liability is irrelevant
    3   to the personal jurisdiction analysis here. Indeed, almost every business enterprise
    4   in the United States ultimately forms some sort of corporate entity for the purpose
    5   of avoiding personal liability.” NuCal Foods, Inc. v. Quality Egg LLC, 887 F. Supp.
    6   2d 977, 994 n.9 (E.D. Cal. 2012). Moreover, Plaintiff’s legal theory—that the
    7   corporate form was used to evade liability for the very causes of action that Plaintiff
    8   alleged—is circular and one that courts in this Circuit and other circuits have
    9   rejected. See, e.g., TradeWinds Airlines, Inc. v. Soros, No. 1:08-CV-05901 (JFK),
   10   2012 WL 983575, at *6 (S.D.N.Y. Mar. 22, 2012) (“This ‘injustice’ must consist of
   11   more than merely the tort or breach of contract that is the basis of the plaintiff’s
   12   lawsuit.”); In re W. States Wholesale Nat. Gas Antitrust Litig., No. 2:03-CV-01431
   13   (PMP) (PAL), 2009 WL 455658, at *25 (D. Nev. Feb. 23, 2009) (stating that that
   14   the “alleged illegal price manipulation cannot itself constitute the fraud or injustice
   15   necessary to pierce the corporate veil.”); Stewart v. Screen Gems-EMI Music, Inc.,
   16   81 F. Supp. 3d 938, 956–57 (N.D. Cal. 2015) (similar).
   17         The SAC also suggests “tax evasion” as another supposed “injustice” caused
   18   by the corporate structure of MindGeek. See, e.g., SAC ¶ 313. But this allegation
   19   fares no better: whether the corporate structure was designed to avoid U.S. tax laws
   20   has no bearing on Plaintiff’s claims. “[T]he alter ego inquiry focuses on whether the
   21   corporate form was inequitably used under the particular circumstances of a given
   22   case, not simply whether the corporation maintained good standing for all purposes.”
   23   JPV I L.P. v. Koetting, 88 Cal. App. 5th 172, 197 (2023), review denied (May 17,
   24   2023). Although tax evasion is sometimes a relevant consideration in alter ego cases,
   25   that is only when, unlike here, the United States is the party claiming that the
   26   corporate structure worked an injustice. See, e.g., Prompt Staffing, Inc. v. United
   27   States, 321 F. Supp. 3d 1157, 1177 (C.D. Cal. 2018) (permitting the IRS to pierce
   28   the corporate veil because “[t]he purpose of the alter ego doctrine is to provide a
                                               21
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    1   remedy to creditors against individuals who improperly hide behind the corporate
    2   veil”). Plaintiff’s criticism of MindGeek’s tax structure is irrelevant to personal
    3   jurisdiction on an alter ego theory.
    4         In all events, the SAC still does not allege “specific manipulative conduct” by
    5   Tassillo or Antoon that deprived Plaintiff of a remedy against an appropriate
    6   defendant. Tatung Co., Ltd. v. Shu Tze Hsu, 217 F. Supp. 3d 1138, 1176 (C.D. Cal.
    7   2016). To make a prima facie showing of personal jurisdiction on an alter ego
    8   theory, Plaintiff must allege what a specific defendant did to cause the relevant
    9   injuries. The Plaintiff has utterly failed to do that here. See, e.g., Oakley, Inc. v.
   10   Trimera Mil. Tech., Inc., No. 8:14-CV-01649 (DOC) (DFM), 2016 WL 8794459, at
   11   *8 (C.D. Cal. Jan. 22, 2016) (finding that the individual defendants cannot be held
   12   responsible for the undercapitalization of an entity for alter ego purposes because
   13   the plaintiff did not allege the individuals were involved in the initial incorporation
   14 of the company).
                  2.   There Is No “Unity of Interest and Ownership” Between
   15                  Antoon or Tassillo and Non-Contesting Defendants
   16         The “unity of interest and ownership” prong of the alter ego doctrine requires
   17   Plaintiff to show that the relevant individual controls the company “to such a degree
   18   as to render the latter the mere instrumentality of the former.” See In re Boon Glob.
   19   Ltd., 923 F.3d at 653 & n.4 (quoting Ranza, 793 F.3d at 1073, and citing Riddle v.
   20   Leuschner, 335 P.2d 107, 110–12 (Cal. 1959)). To determine whether an individual
   21   (rather than a corporate parent) dominates the entity, courts weigh multiple factors.
   22   These factors include (i) “whether a single individual or family owned all of the
   23   corporate entity;” (ii) “whether the individual and the corporation commingled their
   24   assets or failed to segregate their funds;” (iii) “whether the individual utilized the
   25   corporation as a shell;” and (iv) “whether the individual treated corporate assets as
   26   his own.” Willick v. Napoli Bern Ripka & Assocs., No. 2:15-CV-00652 (AB) (E),
   27   LLP, 2019 WL 3064120, at *4 (C.D. Cal. Mar. 13, 2019). See also Coste v. Fox
   28   Beverages USA Inc., No. 2:23-CV-02053 (WLH) (RAOX), 2023 WL 8522987, at
                                            22
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    1   formalities. See Sack Decl. ¶¶ 8-11 (cataloging board minutes and resolutions,
    2   financial statements, intercompany agreements, investor presentations, auditor
    3   report, and pricing studies detailing information on MindGeek’s business and
    4   organization); see also Antoon Decl. ¶¶ 38-48 (similar); Tassillo Decl. ¶¶ 32-47
    5   (similar).
    6         The SAC focuses primarily on whether certain MindGeek entities acted as
    7   alter egos to other MindGeek entities, see, e.g., SAC ¶¶ 313-447, while “fail[ing] to
    8   appreciate . . . that pleading alter ego liability requires allegations of fact concerning
    9   the relationship between and among the individuals and entities involved.” Lennard
   10   v. Yeung, No. 2:10-CV-09322 (MMM) (AGR), 2012 WL 13006214, at *8 (C.D. Cal.
   11   Feb. 23, 2012) (emphasis added and omitted). Coincidentally, Plaintiff fails to allege
   12   specific facts regarding the relationship between Antoon and Tassillo, on the one
   13   hand, and the Non-Contesting Defendants, on the other, that even remotely supports
   14   domination or control, or an elimination of corporate separateness. See, e.g., Fair
   15   Hous. Council of Riverside Cnty., Inc. v. Grp. XIII Prop. LP, No. 5:21-CV-00941
   16   (JGB) (KK), 2023 WL 4680764, at *26 (C.D. Cal. Apr. 27, 2023) (dismissing action
   17   where the record did not establish that the individual defendants “are one and the
   18   same as the corporate entities they control”).
   19         The record here demonstrates the opposite: Antoon and Tassillo kept their
   20   affairs separate from the Non-Contesting Defendants. Documents produced in
   21   discovery demonstrate that the Non-Contesting Defendants had (i) separate bank
   22   accounts from Antoon and Tassillo; (ii) were responsible for their own debts and
   23   that neither Antoon nor Tassillo held themselves out as personally liable for their
   24   debts; and (iii) operated as separate businesses since 2008. See Antoon Decl. ¶¶ 12-
   25   43; Tassillo Decl. ¶¶ 8-37.
   26         Plaintiff attempts to plead around the record by spinning common corporate
   27   practices into something nefarious. For example, Antoon’s and Tassillo’s use of a
   28   third-party accountant for their personal finances simply reflects their positive view
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    1   of the accountant’s work on corporate finances.          Likewise, a shareholders’
    2   agreement that specifies dividend distributions in different proportion than the
    3   shareholders’ respective share of ownership is a common practice, particularly when
    4   certain shareholders perform additional functions at the corporate level.13 California
    5   law expressly permits shareholders agreements of close corporations which relate to
    6   “division of its profits.” Cal. Corp. Code § 300 (b); see also Antoon Decl. ¶¶ 20-36;
    7   Tassillo Decl. ¶¶ 20-21, 28. Nor does Plaintiff allege what role, if any, Antoon and
    8   Tassillo had in creating the shareholders’ agreement. See Pizana v. SanMedica Int’l
    9   LLC, 345 F.R.D. 469, 488 (E.D. Cal. 2022) (dismissing complaint where “plaintiff
   10   essentially alleges that everyone did everything in a conclusory manner, without any
   11   supporting factual allegations”).
   12         It is likewise commonplace for the sole shareholders of a Special Purpose
   13   Vehicle (“SPV”) that holds shares in a third company to manage the affairs of the
   14   third company, instead of acting only through the SPV’s directors/officers. See
   15   Tassillo Decl. ¶¶ 19-33. This practice does not make the third company the alter ego
   16   of the shareholders. Plaintiff insinuates that something was amiss, see SAC ¶¶ 374-
   17   85, but does not allege that such corporate practices are impermissible or even
   18   uncommon, or that either Antoon, Tassillo, or any director or officer of any SPV
   19   took any action inconsistent with the interests of that entity. But even if similar
   20   practices were uncommon (they are not), allegations of shared ownership and
   21   management “are alone insufficient to establish the requisite level of control” under
   22   an alter ego theory. Ranza, 793 F.3d at 1073.
   23         In the absence of specific allegations about Antoon’s or Tassillo’s control and
   24   dominance, Plaintiff once again resorts to conclusory allegations and improper
   25

   26   The SAC attempts to make this common practice sound nefarious by referring to
        13
      the shareholders’ agreement as an “Owners’ Side Letter.” SAC ¶¶ 321. The Court
   27 should reject this characterization. The shareholders’ agreement is not designated
      as a letter and was not somehow secret: it was among the formal governing
   28 documents specifying how the MindGeek entities were to be managed.
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    1   the capitalization of the Non-Contesting Defendants or any MindGeek entity. See
    2   United States v. Funds Held in the Name or for the Benefit of Wetterer, 210 F.3d 96,
    3   107–08 (2d Cir. 2000) (reversing alter ego finding where personal charges “were
    4   small relative to the income, expenditures and operations” of the company and “at
    5   worst . . . represent a misappropriation of the [company’s] funds rather than an
    6   identity between its director and the corporation”).
    7         At bottom, Plaintiff has not alleged how Antoon and Tassillo could have
    8   maintained a “unity of interest and ownership” with certain MindGeek entities when
    9   their authority over the MindGeek group was delineated by a shareholders’
   10   agreement, employment agreements and service agreements, and limited in other
   11   ways by the lenders’ credit facilities with onerous reporting requirements and strict
   12   financial covenants. See Trans-World Int’l, Inc. v. Smith-Hemion Prods., Inc., 972
   13   F. Supp. 1275, 1291 (C.D. Cal. 1997) (“[I]n every reported case in which a
   14   shareholder was held an alter ego of a corporation, that shareholder has been proven
   15   to be ‘dominant,’ in the sense of both owning a majority of stock and controlling the
   16   corporation’s general finances and day-to-day operations.”).           Antoon’s and
   17   Tassillo’s compliance with the contracts governing their employment and
   18   shareholdings demonstrate precisely the opposite of what Plaintiff claims it does:
   19   observance of corporate formalities and respect for the corporate form. Plaintiff
   20   provides no basis for finding that either Antoon or Tassillo were alter egos of any
   21   Non-Contesting Defendant, which is fatal to her jurisdictional case.
   22                                            ***
   23         In granting jurisdictional discovery, the Court wrote that Plaintiff should
   24   voluntarily dismiss Individual Defendants from the action if, after jurisdictional
   25   discovery, she cannot “clearly define a defendant’s conduct as it relates to her harm.”
   26   ECF No. 168 at 2. Plaintiff received the discovery she requested. Rather than heed
   27   the Court’s directive, she continues to plead around the jurisdictional deficiencies in
   28   the record through group pleading and vague, scatter-shot allegations that fail to
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    1   establish alter ego jurisdiction for Antoon or Tassillo. Because Plaintiff has not
    2   identified “any right that will be defeated” or “any prejudice she will suffer” as a
    3   result of Antoon’s and Tassillo’s dismissal from this action, the Court should do
    4   what Plaintiff has refused to do: dismiss Antoon and Tassillo from the case. See
    5   Wady v. Provident Life and Accident Ins. Co. of Am., 216 F. Supp. 2d 1060, 1070
    6   (C.D. Cal. 2002).
    7      II.      PLAINTIFF FAILS TO STATE A CLAIM UPON WHICH RELIEF
    8               MAY BE GRANTED
    9               A.     Plaintiff’s TVPRA Claims Fail

   10            Plaintiff’s claims under Counts I and IV of the SAC independently fail to state

   11   a claim. Count I alleges sex trafficking in violation of 18 U.S.C. §§ 1591, 1595.

   12   Section 1591 is a criminal prohibition on sex trafficking, while Section 1595 permits

   13   civil actions for damages. Section 1591 contains two trafficking offenses: Direct

   14   liability in Section 1591(a)(1), and beneficiary liability in Section 1591(a)(2).

   15            Direct Liability. “To state a claim for direct perpetrator liability, a plaintiff

   16   must allege the defendant knowingly (1) ‘recruits, entices, harbors, transports,

   17   provides, obtains, advertises, maintains, patronizes, or solicits by any means a

   18   person,’ knowing or recklessly disregarding that the person may be a minor and ‘will

   19   be caused to engage in a commercial sex act.’” Doe v. Grindr Inc., No. 2:23-CV-

   20   02093 (ODW) (PD), 2023 WL 9066310, at *6 (C.D. Cal. Dec. 28, 2023) (emphasis

   21   added). Under the plain language of Section 1591(a)(1), to state a direct liability

   22   claim, a plaintiff must allege conduct that relates to a person, and not to videos. Doe

   23   v. Twitter, Inc., 555 F. Supp. 3d 889, 915 (N.D. Cal. 2021) (holding that allegations

   24   of conduct relating to videos, and not to a person, fails to state a Section 1591(a)(1)

   25   claim), aff’d in part, rev’d in part and remanded sub nom. Doe #1 v. Twitter, Inc.,

   26   No. 22-15103, 2023 WL 3220912 (9th Cir. May 3, 2023).

   27            Plaintiff’s claim fails for the same reason the claims in Twitter failed: she

   28   does not allege that any defendant engaged in any action regarding her person.
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    1   Plaintiff does not even allege that she had any interactions with either Antoon or
    2   Tassillo. Instead, she alleges that “[t]he MindGeek Defendants recruit, entice,
    3   harbor, transport, provide, obtain, advertise, maintain, patronize, or solicit videos
    4   and images depicting CSAM on their websites.” SAC ¶ 467 (emphasis added). This
    5   is not sufficient to state a direct liability claim under Section 1591(a)(1).
    6         Beneficiary Liability. Plaintiff also fails to state a claim for beneficiary
    7   liability. Beneficiary liability “punishes anyone who ‘knowingly . . . benefits,
    8   financially or by receiving anything of value, from participation in a venture which
    9   has engaged in [a sex trafficking act], knowing . . . that the person has not attained
   10   the age of 18 years and will be caused to engage in a commercial sex act . . . .’”
   11   Does 1-6 v. Reddit, Inc., 51 F.4th 1137, 1145 (9th Cir. 2022) (quoting 18 U.S.C.
   12   § 1591(a)(2)). To state a claim, a plaintiff must allege that a defendant “knowingly
   13   benefit[s] from knowingly participating in child sex trafficking.” Id. This “requires
   14   actual knowledge and ‘a causal relationship between affirmative conduct furthering
   15   the sex-trafficking venture and receipt of a benefit.’” Id. (quoting Geiss v. Weinstein
   16   Co. Holdings LLC, 383 F. Supp. 3d 156, 169 (S.D.N.Y. 2019)).
   17         Here, Plaintiff does not allege actual knowledge of any sex trafficking venture
   18   concerning Plaintiff, or any affirmative conduct furthering the venture concerning
   19   Plaintiff. Plaintiff spends much of Count I demonstrating the MindGeek Entity
   20   Defendants’ alleged constructive knowledge, SAC ¶¶ 468-71, but at no point does
   21   Plaintiff allege actual knowledge of a sex trafficking venture concerning her or
   22   affirmative conduct furthering that venture. The absence of these allegations is fatal
   23   to Plaintiff’s beneficiary liability claim. Doe v. Twitter, Inc., No. 3:21-CV-00485
   24   (JCS), 2023 WL 8568911, at *8 (N.D. Cal. Dec. 11, 2023) (dismissing beneficiary
   25   liability claim for lack of actual knowledge and participation in sex trafficking
   26   venture; allegations of general knowledge of CSAM on Twitter was insufficient).
   27         Count IV also fails.      In Count IV, Plaintiff alleges that all defendants
   28   conspired to benefit from the monetization of CSAM, in violation of 18 U.S.C. §§
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    1   1594(c), 1595. SAC ¶ 500. Although she does not identify a specific offense that
    2   was the object of the conspiracy, she alleges the acts in Counts I-III, which are all
    3   alleged to be in violation of Section 1591, were “overt acts in furtherance” of the
    4   conspiracy, suggesting that a violation of that section is the object offense. SAC ¶
    5   501. To state a claim under Section 1594(c), Plaintiff must “allege facts that
    6   plausibly show that the defendants ‘entered into a joint enterprise with consciousness
    7   of its general nature and extent.’” Paguirigan v. Prompt Nursing Emp. Agency LLC,
    8   286 F. Supp. 3d 430, 440 (E.D.N.Y. 2017) (quoting Stein v. World-Wide Plumbing
    9   Supply Inc., 71 F. Supp. 3d 320, 330 (E.D.N.Y. 2014)). Plaintiff cannot do so
   10   because she cannot plead the necessary facts.
   11         The SAC falls short in that it provides no specific facts regarding what role,
   12   if any, either Antoon or Tassillo is alleged to have played in any purported agreement
   13   to violate the sex trafficking laws. Accordingly, Plaintiff has not pled that they had
   14   actual knowledge of any trafficking, and certainly cannot allege that any defendant
   15   entered into an agreement to traffic her person in violation of Section 1591(a)(1).
   16   Without actual knowledge of the trafficking, Plaintiff cannot claim that Antoon or
   17   Tassillo were conscious of the general nature and extent of any conspiracy.
   18         Because none of the sex trafficking causes of action contains sufficient “facts
   19   to give fair notice” of what Antoon or Tassillo allegedly did wrong, see Eclectic
   20   Properties E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 996 (9th Cir. 2014)
   21   (citation omitted), Plaintiff’s Counts I and IV should be dismissed as to Antoon and
   22   Tassillo.
   23         Extraterritoriality. Plaintiff’s TVPRA claims also fail because she fails to
   24   allege that they apply extraterritorially to Antoon, Tassillo or any other defendant.
   25   “It is a ‘longstanding principle of American law that legislation of Congress, unless
   26   a contrary intent appears, is meant to apply only within the territorial jurisdiction of
   27   the United States.’” Morrison v. Nat’l Australia Bank Ltd., 561 U.S. 247, 255 (2010)
   28   (quoting EEOC v. Arabian American Oil Co., 499 U.S. 244, 248 (1991)). To
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    1   determine when a statute applies extraterritorially, a court first asks “whether the
    2   statute gives a clear, affirmative indication that it applies extraterritorially.” RJR
    3   Nabisco, Inc. v. Eur. Cmty., 579 U.S. 325, 337 (2016). If it does not, the court asks
    4   whether the asserted application of the statute is domestic or not. Id.
    5         While Section 1595 is silent on its extraterritorial application, Section 1596
    6   states that Section 1591 applies extraterritorially if “(1) an alleged offender is a
    7   national of the United States or an alien lawfully admitted for permanent residence,”
    8   or if “(2) an alleged offender is present in the United States, irrespective of the
    9   nationality of the alleged offender.” 18 U.S.C. § 1596(a). Plaintiff does not allege
   10   that either of these categories applies to Antoon, Tassillo, or even any foreign entity.
   11   Her claims against Antoon and Tassillo therefore must be dismissed as
   12   impermissible extraterritorial applications of Sections 1591 and 1595. Doe v.
   13   Webgroup Czech Republic, A.S., No. 2:21-CV-02428 (SPG) (SK), 2024 WL
   14   3533426, at *10 (C.D. Cal. July 24, 2024) (dismissing domestically trafficked
   15   plaintiff’s claims against foreign websites as extraterritorial applications of the
   16   TVPRA).
   17             B.    Plaintiff’s 18 U.S.C. § 2252 Claims Fail
   18         Counts V and VI assert civil claims under the federal criminal provisions
   19   prohibiting the receipt, transport, and possession of child pornography. With respect
   20   to these alleged child exploitation materials (“CSEM”) offenses, Plaintiff fails to
   21   plead, as she must, that Antoon or Tassillo “knowingly” received, transported, or
   22   possessed such materials. United States v. X-Citement Video, Inc., 513 U.S. 64, 78
   23   (1994). Plaintiff has not made any allegation pertaining to Antoon or Tassillo and
   24   CSEM, and certainly not that Antoon or Tassillo knew the videos at issue contained
   25   CSEM prior to Plaintiff’s takedown request. The SAC lacks allegations that Antoon
   26   or Tassillo had any involvement with Plaintiff’s videos or played a role in causing
   27   her injuries. Indeed, the SAC has no allegations that either Antoon or Tassillo were
   28   aware that Plaintiff was a minor at the time her videos were made. Nor is it plausible
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    1   that as the CEO and COO of a service company for a large website, Antoon and
    2   Tassillo, respectively, would have this knowledge or even would know of the
    3   existence of one individual’s videos on a website containing several million
    4   consensual adult videos. Accordingly, Plaintiff fails to state a claim because the
    5   statute requires that she be “aggrieved by reason of” the knowing receipt, transport,
    6   or possession of CSEM. 18 U.S.C. § 2252A(f)(1).
    7             C.    Plaintiff’s State Law Claims Fail
    8         Counts VII, VIII, and IX (Public Disclosure of Private Facts, Intrusion
    9   into Private Affairs and Placing Plaintiff in a False Light): Regarding all the
   10   common law and state law torts alleged in the Amended Complaint against Antoon
   11   and Tassillo, “[d]irectors or officers of a corporation do not incur personal liability
   12   for torts of the corporation merely by reason of their official position, unless they
   13   participate in the wrong.” United States Liab. Ins. Co. v. Haidinger–Hayes, Inc., 1
   14   Cal. 3d 586, 595 (1970). The SAC is silent as to Antoon’s or Tassillo’s alleged
   15   participation in any wrongful acts. Plaintiff makes only group and conclusory
   16   allegations about Antoon and Tassillo, including discussing their roles as CEO and
   17   COO, and that association cannot form the basis of individual tort liability. See
   18   Frances T. v. Vill. Green Owners Assn., 42 Cal. 3d 490, 503 (1986) (“It is well settled
   19   that corporate directors cannot be held vicariously liable for the corporation’s torts
   20   in which they do not participate. Their liability, if any, stems from their own tortious
   21   conduct, not from their status as directors or officers of the enterprise.” (emphasis
   22   omitted)). For this reason alone, the common law and state law torts directed against
   23   Antoon and Tassillo fail.
   24         Even if Plaintiff could sufficiently plead her claims, courts routinely hold that
   25   the basis for these kinds of privacy torts presupposes the website’s “role as a
   26   ‘republisher’ of material posted by a third party,” and therefore, they are barred by
   27   Section 230 of the Communications Decency Act, 47 U.S.C. § 230, as discussed
   28   below. See, e.g., Caraccioli v. Facebook, Inc., 700 F. App’x 588, 590 (9th Cir. 2017)
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    1   (holding claims against Facebook for intrusion into private affairs and false light,
    2   among others, based on Facebook’s refusal to remove private photos and videos of
    3   the plaintiff from Facebook, was barred under Section 230).
    4         Counts XII and XIII (Common Law and California Statutory
    5   Commercial Misappropriation): In Counts XII and XIII, Plaintiff fails to
    6   adequately allege the elements of a misappropriation claim under common law or
    7   under California Civil Code § 3344 against Antoon or Tassillo. The SAC does not
    8   contain any allegation that Antoon or Tassillo appropriated Plaintiff’s name or
    9   likeness, or that they used her identity, knowingly or otherwise, for a commercial
   10   purpose. Accordingly, these claims should be dismissed due to a lack of allegations
   11   against Antoon and Tassillo.
   12         Count XIV (Cal. Civ. Code § 1708.85): Count XIV is also deficient. The
   13   California statute provides a private right of action “against a person who
   14   intentionally distributes” private sexually explicit materials “without the other’s
   15   consent” if “the person knew, or reasonably should have known, that the other person
   16   had a reasonable expectation that the material would remain private.” Cal. Civ. Code
   17   § 1708.85. But the SAC has no allegation that Antoon or Tassillo “intentionally
   18   distribute[d]” videos or images depicting Plaintiff, or that they even knew these
   19   materials existed. Accordingly, Plaintiff has failed to plead a claim under Section
   20   1708.85 against Antoon or Tassillo.
   21         Count XIII (Negligence): Count XIII fails because Plaintiff has not alleged
   22   any legal duty owed to her by Antoon or Tassillo, much less any acts that would
   23   constitute a breach of that duty. Absent from the SAC is any allegation from which
   24   the Court could conclude that a special relationship existed between either Antoon
   25   or Tassillo and Plaintiff. Courts consistently decline to find special relationships
   26   between websites and those injured by third-party uploads to such websites. See,
   27   e.g., Doe v. MySpace, Inc. 474 F. Supp. 2d 843, 846, 852 (W.D. Tex. 2007), aff’d,
   28   528 F.3d 413 (5th Cir. 2008) (dismissing negligence claims because Myspace did
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    1   not owe a legal duty to parents of a teenager who was raped to protect their daughter
    2   from criminal acts “nor to institute reasonable safety measures on its website”). The
    3   point is even more stark with respect to a purported injured third-party user and the
    4   CEO or COO of the service company that supports that website. Accordingly, Count
    5   XIII should be dismissed due to a lack of allegations against Antoon and Tassillo
    6   individually.
    7         Count XIV (Cal. Bus. & Prof. Code §§ 17200 and 17500): Plaintiff’s Unfair
    8   Competition Law claim is insufficiently pleaded because Plaintiff has not alleged
    9   any specific unlawful acts by Antoon or Tassillo. In addition, because Plaintiff’s
   10   claim is premised on an alleged misrepresentation, it also fails to meet Rule 9(b)’s
   11   requirements because she does not allege with particularity any specific
   12   misrepresentation made by Antoon or Tassillo. Kwikset Corp. v. Superior Ct., 51
   13   Cal. 4th 310, 320 & 322-25 (2011); Letizia v. Facebook Inc., 267 F. Supp. 3d 1235,
   14   1244 (N.D. Cal. 2017). Given the lack of individual allegations against Antoon or
   15   Tassillo, Count XIV should be dismissed as against them.
   16         Count XV (California’s Trafficking Victims Protection Act (“CTVPA”)
   17   Cal. Civ. Code § 52.5): Plaintiff’s California Trafficking Victims Protection Act
   18   Claim fails for the same reason her direct liability TVPRA claim fails: there is no
   19   allegation that any defendant took any action against her person. The CTVPA
   20   provides a civil cause of action for victims “of human trafficking, as defined
   21   in Section 236.1 of the Penal Code.” Cal. Civ. Code § 52.5(a). Section 236.1 of the
   22   Penal Code in turn, contains three offenses in subsections (a)-(c), each of which
   23   require some act against a “person.” Additionally, unlike the federal TVPRA, there
   24   is no beneficiary liability under the CTVPA. “The text of the state statutory
   25   provisions does not provide for liability against a beneficiary of a trafficking scheme,
   26   rather than a perpetrator.” SASA MASLIC, et al. v. ISM VUZEM D.O.O., No. 5:21-
   27   CV-02556 (BLF), 2024 WL 3408217, at *7 (N.D. Cal. July 11, 2024). Plaintiff’s
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    1   CTVPA claim therefore must be dismissed because she does not allege that any
    2   defendant—much less Antoon or Tassillo—took any action against her person.
    3         Count XVI (Civil Conspiracy): Plaintiff’s civil conspiracy claim fails
    4   because, under California law, civil conspiracy is not a separate and distinct tort
    5   cause of action. See, e.g., Applied Equip. Corp. v. Litton Saudi Arabia Ltd., 7 Cal.
    6   4th 503, 514 (1994) (stating that, “Conspiracy is not an independent tort; it cannot
    7   create a duty or abrogate an immunity. It allows tort recovery only against a party
    8   who already owes the duty and is not immune from liability based on applicable
    9   substantive tort law principles.”); Ent. Rsch. Grp., Inc. v. Genesis Creative Grp.,
   10   Inc., 122 F.3d 1211, 1228 (9th Cir. 1997) (stating that “merely alleging underlying
   11 tort causes of action is clearly insufficient to support a conspiracy cause of action”).
          III. SECTION 230 IMMUNITY EXTENDS TO ANTOON AND
   12           TASSILLO
   13         Finally, Plaintiff’s claims against Antoon and Tassillo are barred by Section
   14   230 of the CDA.      47 U.S.C. § 230(c)(1).      Congress enacted Section 230 to
   15   “immunize[] providers of interactive computer services against liability arising from
   16   content created by third parties.” Fair Hous. Council of San Fernando Valley v.
   17   Roommates.Com, LLC, 521 F.3d 1157, 1162 (9th Cir. 2008) (en banc). “Today, the
   18   most common interactive computer services are websites.” Id. at 1162 n.6.14 The
   19   statute states that “[n]o provider or user of an interactive computer service shall be
   20   treated as the publisher or speaker of any information provided by another
   21   information content provider.” 47 U.S.C. § 230(c)(1). Under the law of this circuit,
   22   when a plaintiff asserts a claim against “(1) a provider or user of an interactive
   23   computer service, (2) whom a plaintiff seeks to treat, under a state law cause of
   24   action, as a publisher or speaker, (3) of information provided by another information
   25

   26   “The term ‘interactive computer service’ means any information service, system,
        14

      or access software provider that provides or enables computer access by multiple
   27 users to a computer server, including specifically a service or system that provides
      access to the Internet and such systems operated or services offered by libraries or
   28 educational institutions.” 47 U.S.C. § 230(f)(2).
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    1   content provider,” such a claim will fail. Calise v. Meta Platforms, Inc., 103 F.4th
    2   732, 738 (9th Cir. 2024) (quoting Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1100–01
    3   (9th Cir. 2009), as amended (Sept. 28, 2009)).15
    4         Plaintiff’s claims fail this test. First, there is no dispute that Plaintiff’s claims
    5   arise from the use of a website, an interactive computer service. SAC ¶ 38. Second,
    6   Plaintiff seeks to treat the MindGeek Entity Defendants—and by extension Antoon
    7   and Tassillo—as publishers. A claim seeks to treat a website as a publisher if the
    8   duty that a defendant allegedly violated would require the defendant to monitor third
    9   party content. Barnes, 570 F.3d at 1103. If that duty requires monitoring third party
   10   content, the claim seeks to treat a defendant as a publisher. Calise, 103 F.4th at 742.
   11         Here, Plaintiff’s claims seek to hold Defendants liable for publishing sexually
   12   explicit videos of her while she was a minor. SAC ¶¶ 448-62. Defendants could
   13   avoid liability for these claims only by reviewing the Plaintiff’s content, and thus
   14   Plaintiff’s claims seek to treat defendants as a publisher.
   15         Third, there can be no dispute that the videos of Plaintiff were provided by
   16   another information content provider. 47 U.S.C. § 230(f)(3). Plaintiff expressly
   17   alleges that either her two ex-boyfriends (or perhaps even Plaintiff herself) created
   18   the sexually explicit videos of her. SAC ¶ 448 (“a nude, sexually explicit video her
   19   high school boyfriend had coerced her to make months earlier had been uploaded to
   20   Pornhub without her knowledge or consent.”); SAC ¶ 457 (Plaintiff’s second ex-
   21   boyfriend manipulated her “into creating sexually explicit videos of herself.”).
   22   Plaintiff does not allege that any MindGeek Entity uploaded these videos to
   23   Pornhub, but rather that unidentified third parties did. SAC ¶¶ 448, 458. Her claims
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   26    Section 230 also precludes federal causes of action. See Twitter, 2023 WL
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      8568911, at *8 (18 U.S.C. §§ 1591(a), 1595, 2252A, 2255 claims precluded by
   27 Section 230); Zhang v. Twitter Inc., No. 3:23-CV-00980 (JSC), 2023 WL 5493823,
      at *4 (N.D. Cal. Aug. 23, 2023) (18 U.S.C. §§ 2252, 2252A, 2257 claims are “barred
   28 by Section 230.”).
                                               37
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    1   against Antoon and Tassillo therefore flow from an attempt to hold an interactive
    2   computer service liable as a publisher, and are precluded by Section 230.
    3         Plaintiff also cannot demonstrate that any exception to Section 230 applies.
    4   Two such exceptions are relevant, even though neither are applicable here. First,
    5   even if a website is immune for content provided by third parties, it can still be liable
    6   for content that [a website] “creates itself, or is ‘responsible, in whole or in part’ for
    7   creating or developing, the website is also a content provider,” and can be held liable
    8   notwithstanding Section 230. Roommates, 521 F.3d at 1162. Although Plaintiff
    9   spends much of her complaint claiming that the MindGeek Entity Defendants solicit
   10   and encourage the posting of unlawful material, when a website merely provides “a
   11   neutral platform that did not specify or prompt the type of content to be submitted,”
   12   it cannot be considered the creator or developer of that content. Gonzalez v. Google
   13   LLC, 2 F.4th 871, 895 (9th Cir. 2021), vacated and remanded, 598 U.S. 617 (2023).
   14   Similarly, when a website treats legal and illegal content equally and merely
   15   “provides neutral tools that a user exploits” it “does not become a developer of
   16   content.” Dyroff v. Ultimate Software Grp., Inc., 934 F.3d 1093, 1099 (9th Cir.
   17   2019).
   18         This is precisely what the SAC alleges. Plaintiff alleges the MindGeek
   19   Entities treat illegal content in the same way that they treat legal content. The core
   20   of Plaintiff’s allegations against the MindGeek Entities is that they operated an
   21   “‘unrestricted content’ SEO model that knowingly and intentionally solicited,
   22   optimized, and commercialized content of any kind,” and that they “incorporated all
   23   illegal content into its SEO process just like it did all other legal content.” SAC ¶¶
   24   57, 113) (emphasis added). Although Plaintiff claims that these practices resulted
   25   in illegal, nonconsensual content being uploaded to the MindGeek Entities’
   26   websites, she expressly alleges that the MindGeek Entities treated “nonconsensual
   27   content just like all other content.” SAC ¶ 149. Plaintiff does not allege that any of
   28   the features of the MindGeek Entities websites were designed to differentiate illegal
                                                38
             FERAS ANTOON AND DAVID TASSILLO’S MOTION TO DISMISS
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    1   content from legal content, but rather alleges the opposite: that legal and illegal
    2   content was treated in the same way. These allegations preclude Plaintiff from
    3   treating any MindGeek Entity as an independent information content provider.
    4         Plaintiff also does not qualify for the TVPRA exception to Section 230.16
    5   The TVPRA exception to Section 230 states that Section 230 immunity shall not
    6   “be construed to impair or limit– (A) any claim in a civil action brought under
    7   section 1595 of Title 18, if the conduct underlying the claim constitutes a violation
    8   of section 1591 of that title.” 47 U.S.C. § 230(e)(5). The TVPRA exception to
    9   Section 230 immunity “requires that a defendant-website’s own conduct violate 18
   10   U.S.C. § 1591,” not merely that the website benefits from other trafficking that is
   11   subject to liability under Section 1595, but not Section 1591. Does 1-6 v. Reddit,
   12   51 F.4th at 1145. Here, for the reasons identified in Section II.A, supra, Plaintiff
   13   fails to state a claim under Section 1591 and therefore cannot qualify for the
   14   TVPRA exception to Section 230. Plaintiff’s claims must therefore be dismissed
   15   for this reason.
   16         A recent case in this district has endorsed this understanding of Section 230
   17   immunity. On July 24, 2024, in a case alleging that sexually explicit videos of a
   18   minor were uploaded to a foreign defendant’s pornographic websites, Judge Garnett
   19   concluded that Section 230 barred the claims. Webgroup Czech Republic, 2024 WL
   20   3533426, at *9. Judge Garnett ultimately granted plaintiff leave to amend because
   21   the Ninth Circuit decided Does 1-6 v. Reddit after the plaintiff filed the operative
   22   complaint. Here, however, Plaintiff filed the SAC well after Does 1-6 v. Reddit was
   23   decided, and thus a similar opportunity to amend is not justified.
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   26   The Court does not need to reach the TVPRA exception to Section 230 unless it
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      concludes that Section 230 applies to Plaintiff’s claims, and that the content creator
   27 exception does not apply. If the Court finds that only the TVPRA exception to
      Section 230 applies, a fortiori Plaintiff’s remaining, non-Section 1591 claims must
   28 be dismissed as barred by Section 230.
                                                 39
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    1                                     CONCLUSION
    2            For the reasons discussed above, Feras Antoon and David Tassillo
    3   respectfully request that the Court dismiss the SAC for lack of personal jurisdiction
    4   without leave to amend or, in the alternative, with prejudice for failure to state a
    5   claim.
    6

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                 DATED: August 30, 2024        Respectfully Submitted,

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    9
                                               By: /s/ Jonathan S. Sack

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            FERAS ANTOON AND DAVID TASSILLO’S MOTION TO DISMISS
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    1
                              CERTIFICATE OF COMPLIANCE
    2

    3
              The undersigned counsel of record for defendant David Tassillo, certifies

    4   that this brief contains fewer than forty (40) pages, as required by this Court’s
    5
        August 2, 2024, order, ECF No. 424.
    6

    7         DATED: August 30, 2024            By: /s/ Jonathan S. Sack

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                                CERTIFICATE OF COMPLIANCE
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                                     ID #:10785



    1
                                 CERTIFICATE OF SERVICE

    2         I, Yesenia Ruano, an employee of Morvillo, Abramowitz, Grand, Iason &
    3
        Anello, PC, located at 565 Fifth Avenue, New York, NY 10017, declare under
        penalty and perjury that I am over the age of eighteen (18) and not a party to the
    4   above-entitled proceeding.
    5
               On August 30, 2024, I served the forgoing documents, described as
    6   SPECIALLY APPEARING DEFENDANTS FERAS ANTOON AND DAVID
    7   TASSILLO’S NOTICE OF MOTION AND MOTION TO DISMISS THE
        SECOND AMENDED COMPLAINT; MEMORANDUM OF POINTS AND
    8   AUTHORITIES IN SUPPORT THEREOF; [PROPOSED] ORDER on all
    9   interested parties as follows:

   10   BY E-MAIL: I caused the document(s) to be transmitted electronically by filing
   11        the forgoing with the clerk of the District Court using the CM/ECF system,
             which electronically notifies counsel for all parties. Additionally, I filed the
   12        unredacted, sealed versions of this motion and it supporting memorandum of
   13        points and authorities, and the supporting declarations of Feras Antoon,
             David Tassillo, and Jonathan S. Sack, Esq., to counsel of record for all
   14        parties who have appeared in this action via email.
   15
             I certify under penalty of perjury under the laws of the United States of
   16   America that the foregoing is true and correct.
   17
              Executed on August 30, 2024, at New York, New York.
   18

   19                                                /s/Yesenia Ruano
                                                     Yesenia Ruano
   20

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                               CERTIFICATE OF COMPLIANCE
                                   CASE NO. 2:21-cv-4920
